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4

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7

8                               UNITED STATES BANKRUPTCY COURT

9                               NORTHERN DISTRICT OF CALIFORNIA

10   In re:                                             Case No. 17-42440 RLE
11   RICK DERON JOHNSON and                             Chapter 13
     FRANCESCA MARIE TOBIN-JOHNSON,
12                                                      MOTION TO VALUE PERSONAL
                                                        PROPERTY UNDER § 506 & FRBP
13                                                      3012; NOTICE OF OPPORTUNITY
                                                        FOR HEARING; DECLARATION IN
14                          Debtors.                    SUPPORT; AND CERTIFICATE OF
                                              /         SERVICE
15

16         PLEASE TAKE NOTICE that Debtors request the court value the
17   collateral described below, which secures the claim of the Creditor
18   SafeAmerica Credit Union. Debtors also request that the amount of the
19   Creditor’s secured claim not exceed the value of the collateral, less
20   the claims of creditors holding senior liens or security interests.
21   This determination shall supersede any greater claim demanded in a
22   proof of claim.     Any objections to the Creditor’s claim are reserved.
23         NOTICE IS HEREBY GIVEN, pursuant to FRBP 3007 as modified by
24   B.L.R. 9014-1 that any objection to the requested relief, or a request
25   for hearing on the matter must be filed and served on the requesting
26   party within twenty–one (21) days of mailing of the notice; 2) that a


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1    request for hearing or objection must be accompanied by any

2    declarations or memoranda of law the party objecting or requesting

3    wishes to present in support of its position; 3) that if there is not

4    a timely objection to the requested relief or a request for hearing,

5    the Court may enter an order granting the relief by default; and 4)

6    that the initiating party will give at least seven (7) days written

7    notice of hearing to the objecting or requesting party, and to any

8    trustee or committee appointed in the case, in the event an objection

9    or request for hearing is timely made.

10

11                                            MOTION

12         Debtors hereby move to value the 2014 Honda Accord at $14,571.00,

13   limit Creditor’s secured claim to $14,571.00, and that any amount in

14   excess be treated as a general unsecured claim, pursuant to 11 U.S.C.

15   §§ 506 and 1322 (b)(2), FRBP 3012 and 9014, and B.L.R. 9014-1, which

16   determination shall become part of Debtors’ confirmed Chapter 13 Plan.

17

18   Dated: October 27, 2017                /s/          Patrick L. Forte _________
                                                         PATRICK L. FORTE
19                                                       Attorney for Debtors
20
                                           DECLARATION
21
           I declare under the penalty of perjury that the information
22
     listed below is true and correct:
23
           1.   I am the Debtor in the above-captioned case.
24
           2.   At the time I filed my Chapter 13 case, I was the owner of
25
     the 2014 Honda Accord (the “collateral”).
26


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1          3.    I am informed and believe that on the date I filed my case,

2    the collateral was worth $14,571.00.

3          4.    SafeAmerica Credit Union holds a claim of approximately

4    $14,571.00, secured by the collateral.

5    Dated: October 30, 2017                             /s/ Rick Deron Johnson
                                                         RICK DERON JOHNSON
6                          CERTIFICATE OF SERVICE
7          I am not less than 18 years of age and not a party to the within
8    case.      My business address is: 1624 Franklin Street, #911, Oakland, CA
9    94612.
10         I served this MOTION TO VALUE COLLATERAL; NOTICE OF OPPORTUNITY
11   FOR HEARING; DECLARATION IN SUPPORT by first-class United States Mail,
12   postage pre-paid, at Oakland, California, on the date noted below and
13   addressed to the Claimant above, and on those listed below.                    If
14   entitled to notice, the Chapter 13 Trustee will receive such notice
15   upon the electronic filing of this document I declare, under penalty
16   of perjury, that the foregoing is true and correct.
17   Attn: Chuck Dunbar
     SafeAmerica Credit Union
18
     6001 Gibraltar Drive
19   Pleasanton, CA 94588

20   Dated: October 30, 2017                             /s/ __Joe P. Segura_____
                                                              JOE P. SEGURA
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